Case 1:14-cv-00116-.]TN ECF No. 1-1 filed 02/03/14 Page|D.B Page 1 of 13

EXhibit A

Case 1:14-cv-00116-.]TN ECF No. 1-1 filed 02/03/14 Page|D.€ Page 2 of 13

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J‘ahetiHég‘an, janet.\hogan@h‘i`Ilshiiebrand;.»c§m

The Hills'hire Brgnds Company'

400 S. Jeffe’t'$br'! Street
\Chicago,\ |L=60607

Rl-:z Procoss.$ervod ln Mlchigan»

FOR:

Sara Lee qud &` Béverage,(hssumed the) (Domestic State: MD)

Thé Hill_shire <>Brands Ccmpany\ ('frue ,Na~me)

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14th Cii?¢uif, |llt:>url:,v {Mu§ke'gonlcoun`ty, M|~
Case# 1449309€0 ' ” “`

Employee Lifigatiu.n ~ Dis`cri_mj`nation `- On the b'asis;,of age, race and gender -

Wrongfully terminan -c`}n"Au`gustS, 2011 ‘

The Corpor`ati_on Cdmpar\\/,. Bi:'\gham Farms,` Ml

By certified Mai; nn mi1'6lzn14';fposir;\arkeqioq<r_)1‘/13/zb1ié¢»
Michigan

‘Within 28 days

Douglas M. \Hughes;PLLt`.
Williams Hughes, PLLC`
120 .W, Apple Ave.\

P.O'. B_ox 599

Muskegon, Ml 49443
;231'-726~485?`

C~.T‘has retained ];he current`.lcg, Retain Date: 01_!17/2014, Egp’ect`éd Furge Date:;
'01/22/2014

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Erriail Notit"lcation, Ja`nét Hogan,,janet.bogan@hillshirebmnd$_com

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The Corpdratinrl Cumparly.'
'S)tephanie`Hendric'k$on ‘
.30600;Te1egraph Road

Suite 2345 y .

Bingham Farms, Ml.'48025~5720
‘248»646'-9033`

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Case 1:14-cv-00116-.]TN ECF No. 1-1 filed 02/03/14 PagelD.? Page 3 of 13

    
        
   

 

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lLLlAMS UGHES PLLC . '_- ~'r, - 5 @ ml »-29£.#_‘__'___':_@7.§’

` 1 . _' ' ‘ - ' c V omb §

120 w. APPLE Avmue P.o. Box 599 i ' § 656 la3110 l

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'l`he Corporation Company
30600 Telegraph Rd., Ste. 2345
Bingham Farms, MI 48025

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Case 1:14-cv-00116-.]TN ECF No. 1-1 filed 02/03/14 PagelD.S Page 4 of 13

WILLIAMS l HUGHES PLLC

ATTORNEYS

120 W. APPLE AVENuE P.O. Box 599 MuSK£GON, MicHiGAN 49443-0599
ph 231.726.4857 fax 231.727.2130
web site: www.wlLLlAMsHuGHl-;SLAW.COM e-mail.- LAWYERs@wlLLiAMSHUGHESLAW.cOM

THEODORE N. WlLLIAMS, ]R
DOUGLAS M. HUGHES

SUSAN M. FRANKL!N
ERiC C. GRlMM“
ENRH<A L.F. MCGAHAN

UfCounsel:

FRED C. CULVER ]R.
MICHAEL l. KLEAVELAND
L. ]AMES LEMMEN, MD'

lanua!y 13, 2014 DAle B. MERwiN
'ALco Admitted in CU
"AL¢n Admitted in Twras, D.C.
The Corporation Company CERTIFIED MAIL
30600 Telegraph Rd., Ste. 2345 RETURN RECEIPT REQUESTED

Bingham Farms, MI 48025

Re: Gail Bahr v. Sara Lee Food and Beverage
Circuit Court Case No. 14-49309-CD
Our File No. 14252-001

 

E-mall: dogeghggh es@!illiam§hughe§law com

Gentlemen:
Enclosed please find the Summons and Complaint and Jury Demand regarding the above
referenced matter.
Sincerely,
DMHrt
Encs.

CaS€ 1. _14- -C\Y.- 0015_16- ;]TN ECF N_O.1- 1 filed 02/03/14 Page|D. 9 Page 5 Of 13

 

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Approved SCAO"'- ~ ~ Z' . ' ` 1;tigt;2:y~ ;¢:fendant ' ` §i'ri,cc::;- §e|?iiirr‘nm
sTA're oi= iviici-iiGAN . _ ' - - 4 v cAsE No.
JUD|CIAL DlSTRlCT '
14th -_,UD,C,A,_ C,Rcu,T _ summons AND coiviPLAiNT qua@>¢]€”
couNTY i=RoeATE ~ ‘ ,

 

 

 

Court address Court telephone no.

Hall of Justice 990 Terrace Street, Muskegon, MI 49442_ ' _ (231') 724-6251'

 

 

 

Plaintifl's name(s), address(es), and telephone no(s). ` Defendant's'name(s), address(es), and telephone no(s).
GAIL BAHR ' ~ . - t . . v SARA LEE FOOD AND BEVERAGE
1279 Marcoux ~ . -Registered Agent: The Corporation Company
Muskegon, MI 494-42 ' 30600 Telegxaph R_d., Ste. 2345
~ Bingham Fa.rms, MI 48025

Plaintifl’s attorney bar no., address and telephone no. . ` n » ' '

- Dougias M. Hughes' (P 30958) _ " . ' Tl_-il$ CASE ASSlGNED'_|£
Susan M Frahi<iin (P~66047) ' _ . . _` JuDGE WlLLlAlll C. MAR|E

120 W. AppIe-Ave., P.O. Box 599 _ _
Muskegon, M] ' 49443-0599 . ~ . - -' ' ._
(231) 726-4857 ` , ` _ ~ _ _ ..

- NoTicE To THE DEFENoANT: in the name ofthe people ofthe state of iviiohigan you are notified
1. You are being sued.
2. YOU HAVE 21 DAYS after receiving this summons to file a written answer with the court and serve a copy on .the other party
ortake other lawful action with the court(28 days ifyou were served by mail oryou were served outsidethisst_ate) (Mch 111[c])
' 3. lf you do not answer ortake other action within the time allowed, judgment may be entered against you for the relief demanded

inthecomplaint - c _ \ _;',. -/

. Thi sum nsexpir Cou l
'85~3'/¢/-12/¢/

’This summons is invalid unless served on or before its expiration date. 4
This document must be sealed by the seal of th court. `

COMPLA|NT Instmction: The following' is information that is required to be' in the caption of every complaint andis to be completed
_ by the plaintiff. Actual allegations and the claim for relief rriust be stated on additional complaint pages and attached to this fonn.

 

 

 

 

 

 

 

 

 

 

 

 

Family Divislon Cases
l:l There' is no other pending or resolved action wit_jg,the juri_sdiction'ofth'e'faihi|y division ofcircuit court involving the fami|y»orfamily

members of the parties
[l An action within the jurisdiction of the family division of the circuit court involving the family or family members of the parties has

been previouslyi f led 1n - Court.
The action i:l remains El' is no longer pending. The docket number and the judge assigned to the action are:

Docketno. . Judg€ _ _ _ _ - Bar no.

 

 

 

 

 

 

General Civil .Cases _
Z] There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the complaint
l:l A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

_ been previously filed i_n _ _ v Court;
The action '[:l remains _ ` i:| is no longer -pending. The docket number and the judge assigned to the action are:_

 

 

Docket no. _ d Judge _ _ ' Bar no.

 

 

VENUE .
Plaintiff(s) residence (include city, township, or village) Defendant(s) residence (include city, township. or village)

Muskegon County, MI Muskegon County, MI

Place where action arose or business conducted
Ottawa County,MI

01/02/2014 ' - ,-,' W" _
Date ~ éSignature of attomey/`plaintiff

' lfyou require special accommodations to use the court because of a disability or ifyou require a foreign language interpreter to help
you fully participate in court proceedings please contact the court immediately to make arrangements

ivic 01 (3/08) SUMMONS AND COMPLA|NT NicR 2.102(5)(11), MCR 2104 ivicR 2 105, ivicR 2107 iviCR 2. 113(c)(2)(a) (b) ivicR 3. 206(A)

 

 

 

 

 

 

 

'Case 1:14-cv-00116-.]TN ECF No. 1-1 filed 02/03/14 PagelD.lO Page`€ of 13

SUMMONS AND COMPLA|NT
PROCF OF SERVICE Case No. 14-
TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date

ofexpiration on the.orderforsecond summons. You must make and tile your return with the courtclerk. lfyou are unableto complete
service you must return this original and all copies to the court clerk.

CERT|F|CATE/ AFF|DAV|T OF SERV|CEINONSERV|CE l

 

 

 

 

 

 

 

 

 

 

 

l:l OFFICER CERT|F|CATE OR l:l AFF|DAV|T OF PROCESS SERVER
l certify that | am a sheriff, deputy sheriffl bailiff, appointed Being first duly swornl l state that l am a legally competent
court officer, or attorney for a party (MCR 2.104[A][2])l and adultwho is nota party oran officer ofa corporate party, and

that (notarization required)

 

that (notarization not required)

 

ij | served personally a copy of the summons and complaint,
l:l l served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,

togetherwith
List all documents served with the Summons and Complaint

 

on the defendant(s):

 

 

Defendant's name Complete address(es) of service ' Day, date. time

 

 

 

 

 

 

ill have personally attempted to serve the summons and complaint, togetherwith any attachments, on the following defendant(s)
and have been unable to complete service.

 

Defendanf's name ` Complete address(es) of service Day, date, time

 

 

 

 

 

 

l declare that the statements above are true to the best of my information, knowledgel arid belief.

 

 

 

 

 

 

 

 

 

 

 

 

Servioe fee Mi|es traveled Mileage fee Total fee signature
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Titie
Subscribed and sworn to before me on , County, Michigan.
Date
My commission expires; __________Signature:
Date Deputy court clerk/Notary public

Notary public, State of Michigan, County of

 

 

EKNQWLEDGMENT oF sERvicEj

l acknowledge that l have received service of the summons and complaint together with

 

 

 

Attachments

On
Day, date, time

on behalf of

 

 

Signature

Case 1:14-cv-00116-.]TN ECF No. 1-1 filed 02/03/14 PagelD.11 Page 7 of 13

STATE OF MICHIGAN
]`N THE CIRCUIT COURT FOR THE COUN'I`Y OF MUSKEGON

GAIL BAHR,

Piainnfr, Case No. 14m UO\%@O\ -cD

vs.
HON.

SARA LEE FOOD AND BEVERAGE,

Defendant. THlS CASE ASSIGNED TO
/ JUDGE WlLLlAM C. MARlETTl

 

Douélasivi Hughes (P30958)
Susan M. Franklin (P66047)
Williams Hughes, PLLC

Attomey for Plaintiff

120 W. Apple Avenue

Muskegon, Michigan 49443 -0599
Telephone: 23 1 .726.4857

COMPLA]_`N'I` AND JURY DEMAND

NOW COMES PlaintiH` in the above titled matter, by and through her attorney, Douglas
M. Hughes of Williams Hughes. and herewith complains against Defendant as follows:

l. This is an action for age, race and gender discrimination pursuant to the Michigan
Elliott-Larsen Civil Rights Act, MCL 37.2101 et seq., and the common law of the State of l
Michigan.

2. Plaintiff, an African-American female, was born on July 1, 195 8, and is a resident
of Muskegon County, Michigan.

3. Defendant is a Maryland corporation doing business in Muskegon County.

4. The events giving rise to this cause of action occurred in Ottawa County,

Michigan,

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5. The amount in controversy exceeds $25,000, exclusive of interest, costs, and
attorney fees.
6. Plaintiff began her employment with Defendant in August of 1984 as a

assembly worker.

7 . Over the 26 years of her employment with Defendant, Plaintiff served in a variety
of positions, including data entry clerk and assistant buyer.

8. About 2002, Plaintifl` was promoted to maintenance supervisor.

9. About 2010, the Defendant placed a new supervisor over the Plaintiff, a white
male named Darrell Nackers.

10. At that time, Plaintiff was the only African-American female in a management
position in the maintenance department ~

11. As Defendant’s agent and employee, Mr. Nackers moved Plaintift`s oHice,
changed her hours of employment, changed her job title from maintenance supervisor to
purchasing agent, and assigned some of her duties to create a position for an unqualified white
male employee

12. Pn'or to 2010, throughout her employment with Defendant, Plaintiff received
consistently high marks to earn regular bonuses.

13. Pn`or to 2010, PlaintiH" s work performance was always satisfactory or above in
performance reviews

14. On August 9, 2011, Plaintiff was notified that she was terminated from her

employment

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15. When she was terminated, Plaintiff was 53 years old and one of the oldest
employees in the maintenance department and was the only African-American female in the
maintenance department

16. An unqualified white male employee given some of Plaintiff’ s duties and
responsibilities prior to her termination, and a younger white female replaced Plaintiff for the
remaining duties and responsibilities

COUNT I ~ WRONGFUL DISQHARGE DUE TO AGE DI§CRIM]NATION

17. Plaintiff incorporates by reference paragraphs l through 16_

18. At all material times, Plaintiff was an employee, and Defendant was her
employer, covered by and within the meaning of the Michigan Elliott-Larsen Civil Rights Act,
MCL 37.2101, er seq.

19. Plaintifl`s age was at least one factor that made a difference in Defendant’s
decision to terminate Plaintiff from her employment

20. Had Plaintiff been a younger person, she would not have been terminated

21. Defendant, through its agents, representatives, and employees, was predisposed to
discriminate on the basis of age and acted in accordance with that predisposition

22. Defendant, through its agents, representatives and employees, treated Plaintiff
differently from similarly situated younger employees in the terms and conditions of
employment based on unlawful consideration of age

23_ Defendant’s actions were intentional in disregard for Plaintiff' s rights and
sensibilities

24. As a direct and proximate result of Defendant’s unlawful actions, Plaintifi` has

sustained injuries and damages including, but not limited to, loss of earnings and earning

Case 1:14-cv-00116-.]TN ECF No. 1-1 filed 02/03/14 PagelD.14 Page 10 of 13

capacity; loss of career opportunities; humiliation and embarrassment; mental and emotional
distress; and loss of the ordinary pleasures of everyday life, including the right to pursue gainful

occupation of choice.

§;OUNT II - WRONGFUL DISCHARGE DUE TO RACIAL DISCR]MINATION

25. Plaintiff incorporates by reference paragraphs l through 24.

26. At all material times, Plaintiff was an employee, and Defendant was her
employer, covered by and within the meaning of the Michigan Elliott-Larsen Civil Rights Act,
MCL 37.2101, et seq.

27 . Plaintist race was at least one factor that made a difference in Defendant’s
decision to terminate Plaintiff from her employment.

28. Had Plaintiff not been an Aiiican-American person, she would not have been
terminated

29. Defendant, through its agents, representatives and employees was predisposed to
discriminate on the basis of race and acted in accordance with that predisposition

30. Defendant, through its agents, representatives and employees, treated Plaintiff
differently from similarly situated white employees in the terms and conditions of employment,
based on unlawtiil consideration of race.

31. Defendant’s actions were intentional in disregard for Plaintiff’ s rights and
sensibilities

32. As a direct and proximate result of Defendant’s unlawful actions, Plaintiff has
sustained injuries and damages including, but not limited to, loss of earnings and earning

capacity; loss of career opportunities; humiliation and embarrassment; mental and emotional

Case 1:14-cv-00116-.]TN ECF No. 1-1 filed 02/03/14 PagelD.15 Page 11 of 13

distress; and loss of the ordinary pleasures of everyday life, including the right to pursue gainful
occupation of choice
COUNT HI ~ WRONGFUL DISCHARGE DIJE TO GENDER DISCR]M]NA'I'ION

33. Plaintiff incorporates by reference paragraphs l through 32.

34. At all material times, Plaintiff was an employee, and Defendant was her
employer, covered by and within the meaning of the Michigan Elliott-Larsen Civil Rights Act,
MCL 37.2101, et seq.

35. Plainti&’s gender was at least one factor that made a difference in Defendant’s
decision to terminate Plaintiff ii'om her employment

36. Had Plaintiff been male, she would not have been terminated.

37. Defendant, through its agents, representatives and employees, was predisposed to
discriminate on the basis of age and acted in accordance with that predisposition

38. Defendant, through its agents, representatives and employees, treated Plaintiff
differently from similarly situated male employees in the terms and conditions of employment,
based on unlawful consideration of gender.

39. Defendant’s actions were intentional in disregard for Plaintift’s rights and
sensibilities

40. As a direct and proximate result ofDefendant’s unlawful actions, Plaintiff has
sustained injuries and damages including, but not limited to, loss of earnings and earning
capacity; loss of career opportunities; humiliation and embarrassment; mental and emotional
distress; and loss of the ordinary pleasures of everyday life, including the right to pursue gainful

occupation of choice.

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COUNT IV - DISCHARGE AQAIN§T PUBLIC POLICY

41. Plaintiff incorporates by reference paragraphs 1 through 40.

42. While Plaintiff was employed by Defendant, Defendant’s policies and procedures
which were reasonably related to equal employment opportunity and affirmative action, instilled
legitimate expectations of j ust-cause employment in Defendant’s employees, including Plaintiff

43. Plaintiff reasonably relied on these policies and procedures and, as a result,
legitimately expected that she could be involuntarily terminated only for a reason not in violation
of the Employer’s stated policies

44. As a result of Defendant’s termination of Plaintiff’ s employment, Defendant
interfered with the legitimate expectation of employment that Defendant had instilled in Plaintiff.

45. As a direct and proximate result ofDefendant’s actions, Plaintiff has suffered
depression, emotional and physical distress, mental anguish, loss of reputation, humiliation and
embarrassment, and the physical manifestations of these problems and will suffer these problems
in the fixture

46. As a further direct and proximate result of Defendant’s breach cf duty, Plaintiff
has been placed in financial distress; has suffered loss of wages and benefits, earning capacity,
and ability to work', and will suffer these losses in the filture.

PLAINTIFF REQUESTS that this Honorable Court enter judgment against Defendant as
follows:

A. Compensatory damages in whatever amount above $25,000 she is found to be

entitled;

B. Exemplary damages in whatever amount above $25,000 she is found to be

entitled;

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C. An award of lost wages and the value of ii'inge benefits, past and future;
D. An award of interest, costs, and reasonable attorney fees;
E. An order enjoining Defendant, its agents, representatives and employees from

further acts of discrimination or retaliation;

F. An order reinstating Plaintiff to the position she would have held if Defendant had

not discriminated; and
G. An order awarding whatever other equitable relief appears appropriate at the time

of final judgment
WILLIAMS HUGHES, PLLC

Dated: January 2, 2014 B '
s . es (P30958)

Susan M. Franlclin (P66047)
Attomey for Plaintitfs

120 W. Apple Ave., P.O. Box 599
Muskegon, MI 49443-0599

(231) 726-4857

 

`.rURY DEMAND

Plaintiff Gail Bahr hereby demands a trial by jury.

WILLIAMS HUGHES, PLLC

Dated: January 2, 2014 By'
ou .s@ghes (P30958)

Susan M. Franklin (P66047)
Attorney for Plaintiffs

120 W. Apple Ave., P.O. Box 5_99
Muskegon, MI 49443 -0599

(231) 726-4857

 

